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170 Valeria is without knowledge or information sufficient to enable it to admit or deny the

      allegations of material fact contained in paragraph 17 of the Complaint.

180 Valeria is without knowledge or information sufficient to enable it to admit or deny the

      allegations of material fact contained in paragraph 18 of the Complaint.

19 Valeria is without knowledge or information sufficient to enable it to admit or deny the
  0




      allegations of material fact contained in paragraph 19 of the Complaint.

200 Valeria is without knowledge or information sufficient to enable it to admit or deny the

      allegations of material fact contained in paragraph 20 of the Complaint.

210 Valeria is without knowledge or information sufficient to enable it to admit or deny the

      allegations of material fact contained in paragraph 21 of the Complaint.

220 Valeria is without knowledge or information sufficient to enable it to admit or deny the

      allegations of material fact contained in paragraph 22 of the Complaint.

23 Valeria is without knowledge or information sufficient to enable it to admit or deny the
  0




      allegations of material fact contained in paragraph 23 of the Complaint.

24 Valeria is without knowledge or information sufficient to enable it to admit or deny the
  0




      allegations of material fact contained in paragraph 24 of the Complaint.

25 Valeria admits the allegations of material fact contained in paragraph 25 of the
  0




      Complaint.

                                 The Business of Defendant

260 Valeria denies the allegations contained in paragraph 26 of the Complaint.

270 Valeria denies the allegations contained in paragraph 27 of the Complaint.

280 Valeria denies the allegations contained in paragraph 28 of the Complaint.

290 Valeria admits the allegations contained in paragraph 29 of the Complaint.
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30. Valeria admits the allegations contained in paragraph 30 of the Complaint.

31. Valeria admits the allegations contained in paragraph 31 of the Complaint.

32. Valeria denies the allegations contained in paragraph 32 of the Complaint.

33. Valeria denies the allegations contained in paragraph 33 ofthe Complaint.

34. Valeria denies the allegations contained in paragraph 34 of the Complaint.

35. Valeria denies the allegations contained in paragraph 35 of the Complaint.

36. Valeria denies the allegations contained in paragraph 36 of the Complaint.

37. Valeria denies the allegations contained in paragraph 37 of the Complaint.

38. Valeria denies the allegations contained in paragraph 38 of the Complaint.

                                 First Cause of Action

39. Valeria denies the allegations contained in paragraph 39 of the Complaint.

40. Valeria denies the allegations contained in paragraph 40 of the Complaint.

41. Valeria denies the allegations contained in paragraph 41 of the Complaint.

42. Valeria denies the allegations contained in paragraph 42 of the Complaint.

43. Valeria denies the allegations contained in paragraph 43 of the Complaint.

                                Second Cause of Action

44. Valeria denies the allegations contained in paragraph 44 of the Complaint.

45. Valeria denies the allegations contained in paragraph 45 of the Complaint.

46. Valeria denies the allegations contained in paragraph 46 of the Complaint.

47. Valeria denies the allegations contained in paragraph 47 of the Complaint.

48. Valeria denies the allegations contained in paragraph 48 of the Complaint.

49. Valeria denies the allegations contained in paragraph 49 of the Complaint.

50. Valeria denies the allegations contained in paragraph 50 of the Complaint.
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51. Valeria denies the allegations contained in paragraph 51 of the Complaint.

52. Valeria denies the allegations contained in paragraph 52 of the Complaint.

53. Valeria denies the allegations contained in paragraph 53 of the Complaint.

                                   Third Cause of Action

54. Valeria denies the allegations contained in paragraph 54 of the Complaint.

55. Valeria denies the allegations contained in paragraph 55 of the Complaint.

56. Valeria denies the allegations contained in paragraph 56 of the Complaint.

57. Valeria denies the allegations contained in paragraph 57 of the Complaint.

58. Valeria denies the allegations contained in paragraph 58 of the Complaint.

59. Valeria denies the allegations contained in paragraph 59 of the Complaint.

60. Valeria denies the allegations contained in paragraph 60 of the Complaint.

61. Valeria denies the allegations contained in paragraph 61 of the Complaint.

62. Valeria denies the allegations contained in paragraph 62 of the Complaint.

63. Valeria denies the allegations contained in paragraph 63 of the Complaint.

64. Valeria denies the allegations contained in paragraph 64 of the Complaint.

65. Valeria denies the allegations contained in paragraph 65 of the Complaint.

66. Valeria does not object to a jury trial on all viable issues.

67. Valeria denies that Plaintiff is entitled to any of the relief for which he seeks recovery.

68. To the extent not expressly admitted herein, Valeria denies each and every one of the

   allegations contained in the Complaint and denies that Plaintiff is entitled to any of the

    relief to which he prays.

                                    Affirmative Defenses
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   69. Valeria denies that any of their acts constitute Copyright Infringement under 17 U.S. C. §

       101 et seq.

   70. Valeria denies that any of their acts constitute Trademark Infringement under 15 U.S. C. §

       1114(1 ).

   71. Valeria denies that any of their acts constitute Trademark Infringement and False

       Designation of Origin under 15 U.S. C. § 1125(a).

WHEREFORE, PREMISES CONSIDERED, Defendant prays that Plaintiff take nothing by this

action and that Defendant be dismissed with its costs, and for such other relief, both general and

specific, at law or in equity, to which Defendant may be justly entitled.



                                                             Respectfully Submitted,


                                                              jJ)_
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                                                             Valeria Fine Jewelry
                                                             4834 Vicksburg St.
                                                             Dallas, TX 75207
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